

People ex rel. Jagganarine v Murphy (2017 NY Slip Op 08785)





People v Murphy


2017 NY Slip Op 08785


Decided on December 14, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2017

524899

[*1]THE PEOPLE OF THE STATE OF NEW YORK ex rel. ISAAC JAGGANARINE, Appellant,
vJEFFREY J. MURPHY, as Sheriff of Washington County, Respondent.

Calendar Date: October 24, 2017

Before: Peters, P.J., Garry, Lynch, Clark and Aarons, JJ.


Isaac Jagganarine, Raybrook, appellant pro se.
Roger A. Wickes, County Attorney, Fort Edward (Daniel S. Martindale of counsel), for respondent.



MEMORANDUM AND ORDER
Appeal from a judgment of the Supreme Court (McKeighan, J.), entered September 15, 2016 in Washington County, which denied petitioner's application for a writ of habeas corpus, in a proceeding pursuant to CPLR article 70, without a hearing.
Judgment affirmed. No opinion.
Peters, P.J., Garry, Lynch, Clark and Aarons, JJ., concur.
ORDERED that the judgment is affirmed, without costs.








